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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MICHIGAN

    In re:
                                                           Chapter 11
    BARFLY VENTURES, LLC, et al,1                          Case No. 20-01947-jwb
                                                           Hon. James W. Boyd
                           Debtors.
                                                           Jointly Administered
    ______________________________________/

    WARNER NORCROSS + JUDD MONTHLY FEE AND EXPENSE STATEMENT FOR
     AUGUST 1, 2020 THROUGH AUGUST 31, 2020 FOR SERVICES RENDERED TO
                                DEBTORS

    Name of Applicant:                           Warner Norcross + Judd LLP

    Services Rendered To:                        Debtors

    Effective Date of Retention:                 June 3, 2020

    Compensation Period:                         August 1, 2020-August 31, 2020

    Amount of Compensation Requested:            $24,061.00
                                                        80%: $19,248.80
                                                        20%: $4,812.20
    Amount of Expenses Requested:                $1,059.30

    Total Amount Requested:                      $25,120.30




1
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and
Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant
Saloon)(4255).
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Dated: September 21, 2020               Respectfully submitted,

                                        WARNER NORCROSS + JUDD LLP

                                        /s/ Elisabeth M. Von Eitzen
                                        Rozanne M. Giunta (P29969)
                                        Elisabeth M. Von Eitzen (P70183)
                                        Stephen B. Grow (P39622)
                                        1500 Warner Building
                                        150 Ottawa Avenue, NW
                                        Grand Rapids, Michigan 49503
                                        Telephone: (616) 752-2000

                                        PACHULSKI STANG ZIEHL & JONES LLP
                                        John W. Lucas
                                        Jason Rosell
                                        Steven W. Golden
                                        150 California Street, 15th Floor
                                        San Francisco, California 94111
                                        Telephone: (415) 263-7000

                                        Counsel to the Debtors
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FEE SUMMARY:

                                               Total by Timekeeper
Professionals:          Rate:                         Title             Department              Total Hours      Total Billed
Andrulis, Loren                             $575.00   Partner           Corporate                          2.5          $1,437.50
Giunta, Rozanne                             $455.00   Parter            RIPG                              12.7          $5,778.50
Grow, Stephen                               $595.00   Partner           RIPG                               0.6             $357.00
Keller, Scott                               $610.00   Partner           Intellectual Property              0.7             $427.00
Nikodemski, Janet                           $190.00   Paralegal         RIPG                                 4             $760.00
Von Eitzen, Elisabeth                       $455.00   Partner           RIPG                                33         $15,015.00
Woods, Alexandra                            $260.00   Associate         Real Estate                        1.1             $286.00
                                                                        TOTALS                            54.6         $24,061.00

                                Total by Phase Code
Phase Code              Phase Task                    Total Hours Total Billed
BK11                    Asset Disposition                      8.1             $3,938.00
BK12                    Business Operations                    1.3              $747.50
BK13                    Case Administration                    8.3             $3,807.50
                        Claims
BK14                    Administration/Objections                  1                  $375.50
                        Fee/Employment
BK16                    Applications                              7.5               $3,121.00
BK18                    Litigation                                0.2                  $91.00
                        Assumption & Rejection of
BK25                    Leases/Contracts                      24.1                 $10,115.00
                        Meetings and
                        Communications with
BK30                    Creditors                              3.1                  $1,410.50
BK33                    Reporting                                1                    $455.00
                        TOTAL                                 54.6                 $24,061.00
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TIME SUMMARY BY DATE
  Date           TKPR Name          Bl Hrs       Billed Amt      Billed Rate Task Code           TC Descrip.                                        Narrative
                                                                                         Fee/Employment              Complete response to objections to fee statements (0.2); prepare proof of
 8/3/2020 Nikodemski, Janet M.           0.4            $76.00     $190.00 BK16          Applications                service (0.2)
                                                                                         Fee/Employment              Review and revise response to FSB objection to fee statement and
 8/3/2020 Von Eitzen, Elisabeth M        0.5           $227.50     $455.00 BK16          Applications                correspondence regarding same
 8/4/2020 Von Eitzen, Elisabeth M        0.1            $45.50     $455.00 BK11          Asset Disposition           Correspondence with Mr. Rayman regarding auction
                                                                                         Fee/Employment
 8/4/2020 Von Eitzen, Elisabeth M        0.1            $45.50     $455.00 BK16          Applications                Correspondence with Mr. Hersch regarding hearing on fee statements

                                                                                         Assumption & Rejection of Correspondence with BarFly and Rock Creek regarding rejection timeline
 8/4/2020 Von Eitzen, Elisabeth M        0.3           $136.50     $455.00 BK25          Leases/Contracts          (0.2); correspondence with Mr. Kozak regarding ice machine lease (0.1)
 8/5/2020 Giunta, Rozanne M              0.4           $182.00     $455.00 BK13          Case Administration       Conferences regarding amendments to schedules and matrix
                                                                                                                   Correspondence with Mr. Nidvall regarding rejection of leases and
                                                                                                                   executory contracts (0.5); review ice machine lease (0.3); correspondence
                                                                                                                   to Mr. Kozak regarding additional personal property leases (0.1);
                                                                                         Assumption & Rejection of telephone conference and correspondence with Mr. Moyer regarding
 8/5/2020 Von Eitzen, Elisabeth M            1         $455.00     $455.00 BK25          Leases/Contracts          assumption and cure notice (0.1)
                                                                                         Fee/Employment
 8/6/2020 Von Eitzen, Elisabeth M        1.7           $773.50     $455.00 BK16          Applications              Attend hearing on objection to committee retention and fee order
                                                                                         Assumption & Rejection of Review proposed amendment to Indianapolis lease and correspondence
 8/6/2020 Von Eitzen, Elisabeth M        0.4           $182.00     $455.00 BK25          Leases/Contracts          with Mr. Neitzel regarding same
                                                                                         Fee/Employment            Attend hearing regarding opinion on objection to committee retention and
 8/7/2020 Giunta, Rozanne M              0.6           $273.00     $455.00 BK16          Applications              fee order
8/11/2020 Giunta, Rozanne M              0.5           $227.50     $455.00 BK33          Reporting                 Review monthly operating report
                                                                                         Fee/Employment            Begin preparing fee statement for July fee statement (0.5);
8/11/2020 Von Eitzen, Elisabeth M        0.6           $273.00     $455.00 BK16          Applications              correspondence with Mr. Lucas regarding July fee statements (0.1)
                                                                                         Claims                    Check docket for objections (0.1); prepare certification of no objections to
8/12/2020 Nikodemski, Janet M.           0.3            $57.00     $190.00 BK14          Administration/Objections motion for bar date (0.2)
                                                                                         Assumption & Rejection of Check docket for objects (0.1); prepare certification of no objections to
8/12/2020 Nikodemski, Janet M.           0.3            $57.00     $190.00 BK25          Leases/Contracts          motion for rejection of certain leases (0.2)
                                                                                         Claims                    Review and revise proposed bar date order and attention to service issues
8/12/2020 Von Eitzen, Elisabeth M        0.2            $91.00     $455.00 BK14          Administration/Objections regarding same
                                                                                         Fee/Employment            Telephone conference with Mr. Maggio regarding Mastodon retention
8/12/2020 Von Eitzen, Elisabeth M        0.2            $91.00     $455.00 BK16          Applications              order
8/12/2020 Von Eitzen, Elisabeth M        0.2            $91.00     $455.00 BK18          Litigation                Telephone conference with Mr. Altman regarding Chicago litigation
                                                                                                                   Review cure objections (0.9); draft spreadsheet regarding cure notices and
                                                                                         Assumption & Rejection of objections to same (0.5); correspondence to Rock Creek regarding cure
8/12/2020 Von Eitzen, Elisabeth M        1.5           $682.50     $455.00 BK25          Leases/Contracts          objection spreadsheet (0.1)
                                                                                                                   Emails and conferences regarding monthly operating report and arrange
8/12/2020 Giunta, Rozanne M              0.5           $227.50     $455.00 BK33          Reporting                 for filing
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                                                                                                Revise PSZ&J July fee statement (0.2); correspondence with Mr. Neitzel
                                                                                                regarding Rock Creek fee statement (0.1); telephone conference with Mr.
                                                                                                Andrulis regarding retention order and fee order (0.3); telephone
                                                                      Fee/Employment            conference with Ms. Giunta regarding same (0.2); continue drafting July
8/13/2020 Von Eitzen, Elisabeth M     1     $455.00    $455.00 BK16   Applications              2020 fee statement (0.2)
8/13/2020 Giunta, Rozanne M         0.6     $273.00    $455.00 BK13   Case Administration       Emails regarding financials, etc.
                                                                                                Correspondence with Mr. Pierce regarding employment agreement
8/14/2020 Andrulis, Loren           0.2     $115.00    $575.00 BK12   Business Operations       related matters
                                                                                                Conference with Mr. Grow regarding case status (0.4); telephone
                                                                                                conference with Messrs. Lucas and Rosell and Ms. Giunta regarding case
8/14/2020 Von Eitzen, Elisabeth M   0.9     $409.50    $455.00 BK13   Case Administration       strategy, sale status, and assumption and rejection of leases (0.5)
                                                                      Assumption & Rejection of Correspondence with Messrs. Lidvell and Sellers regarding assumption and
8/14/2020 Von Eitzen, Elisabeth M   0.8     $364.00    $455.00 BK25   Leases/Contracts          rejection of leases
                                                                                                Review docket and pending matters (0.3); telephone conference with Ms.
8/14/2020 Grow, Stephen B.          0.6     $357.00    $595.00 BK13   Case Administration       Von Eitzen regarding structured dismissal (0.3)

                                                                                                  Numerous conferences and emails with Hal Nelson regarding Ionia
                                                                                                  Ventures (0.8); conference call with parties regarding status of all matters
8/14/2020 Giunta, Rozanne M         1.7     $773.50    $455.00 BK13   Case Administration         (0.5); emails regarding lease rejection issues and spreadsheet (0.4)
                                                                                                  Emails with Mr. Andrulis regarding the trade names and trademarks
                                                                                                  owned and the difference between them in order to supply the right
8/17/2020 Keller, R. Scott          0.5     $305.00    $610.00 BK11   Asset Disposition           information for the asset purchase agreement
                                                                                                  Correspondence from and to Mr. Pierce of Rock Creek regarding APA
                                                                                                  schedule information (0.2); memo and communications with Mr. Keller
                                                                                                  regarding APA schedule requiring trade name information (0.4); follow-up
8/17/2020 Andrulis, Loren           0.8     $460.00    $575.00 BK11   Asset Disposition           correspondence to and from Mr. Pierce (0.2)
8/17/2020 Giunta, Rozanne M         0.6     $273.00    $455.00 BK13   Case Administration         Emails regarding trademarks and email regarding Ionia lease
                                                                                                  Telephone conference with Mr. Maggio regarding Mastodon employment
                                                                      Fee/Employment              application (0.1); correspondence with Messrs. Hersch and Lucas regarding
8/17/2020 Von Eitzen, Elisabeth M   0.2      $91.00    $455.00 BK16   Applications                same (0.1)
8/18/2020 Keller, R. Scott          0.2     $122.00    $610.00 BK11   Asset Disposition           Review the list of trade names and provide input
                                                                                                  Review and consider list of trade names based on Michigan and other
8/18/2020 Andrulis, Loren           0.4     $230.00    $575.00 BK11   Asset Disposition           filings (0.3); correspondence to Mr. Pierce regarding same (0.1)
                                                                      Assumption & Rejection of
8/18/2020 Giunta, Rozanne M         0.8     $364.00    $455.00 BK25   Leases/Contracts            Numerous emails regarding Lexington location/landlord
                                                                      Fee/Employment
8/18/2020 Nikodemski, Janet M.      0.4      $76.00    $190.00 BK16   Applications                Prepare notice of amended order to employ Mastodon
                                                                      Fee/Employment              Revise Mastodon retention order (0.2); correspondence with Mr. Hersch
8/18/2020 Von Eitzen, Elisabeth M   0.3     $136.50    $455.00 BK16   Applications                regarding Mastodon retention order (0.1)
                                                                      Assumption & Rejection of
8/18/2020 Von Eitzen, Elisabeth M   2.7    $1,228.50   $455.00 BK25   Leases/Contracts            Begin drafting third omnibus motion to reject leases
8/19/2020 Andrulis, Loren           0.3     $172.50    $575.00 BK12   Business Operations         Memo with Ms. Von Eitzen regarding organizational matters (0.3)
                                                                                                  Emails and conferences regarding budget (0.6); emails and conferences
8/19/2020 Giunta, Rozanne M         1.2     $546.00    $455.00 BK13   Case Administration         regarding hearing issues (0.6)
                                                                      Assumption & Rejection of
8/19/2020 Nikodemski, Janet M.      0.3      $57.00    $190.00 BK25   Leases/Contracts          Prepare proof of service regarding order rejecting leases
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                                                                                                Correspondence to Mr. Sher regarding cure objection (0.1);
                                                                                                correspondence with Rock Creek regarding cure reconciliation (0.2);
                                                                                                correspondence with Mr. Witte regarding cure objection (0.1);
                                                                                                correspondence with Ms. Deeby regarding cure objection (0.1); telephone
8/19/2020 Von Eitzen, Elisabeth M   0.8     $364.00    $455.00 BK11   Asset Disposition         conference with Mr. Lucas regarding sale hearing (0.3)
                                                                                                Correspondence with Mr. Hersch regarding Mastodon retention (0.2);
                                                                                                telephone conference with Mr. Maggio regarding Mastodon retention
                                                                                                order (0.3); correspondence with Mr. Ayers regarding payment of
                                                                      Fee/Employment            professional fees (0.1); telephone conference with Mr. Ayers regarding
8/19/2020 Von Eitzen, Elisabeth M   0.7     $318.50    $455.00 BK16   Applications              payment of professional fees (0.1)
                                                                                                Correspondence with Mr. Lucas regarding rejection motion (0.1);
                                                                                                correspondence with Messrs. Lidvall, Sellers, and Rock Creek regarding
                                                                      Assumption & Rejection of rejection of executory contracts (0.3); continue drafting third omnibus
8/19/2020 Von Eitzen, Elisabeth M   1.2     $546.00    $455.00 BK25   Leases/Contracts          rejection motion (0.8)
                                                                      Meetings &
                                                                      Communicatons with        Correspondence with Mr. Sweeny regarding MMSH, LLC and assignment of
8/19/2020 Von Eitzen, Elisabeth M   0.2      $91.00    $455.00 BK30   Creditors                 Waldron lease
                                                                      Meetings &                Emails regarding Corrigan and review proposed stipulation (0.6);
                                                                      Communicatons with        conference with IRS regarding status (0.2); emails regarding Lexington
8/20/2020 Giunta, Rozanne M         1.4     $637.00    $455.00 BK30   Creditors                 location (0.4); email with Florida AG regarding filing (0.2)
                                                                      Assumption & Rejection of
8/20/2020 Woods, Alexandra M        0.1      $26.00    $260.00 BK25   Leases/Contracts          Correspondence with Ms. Von Eitzen regarding leases
                                                                      Assumption & Rejection of
8/20/2020 Giunta, Rozanne M         0.6     $273.00    $455.00 BK25   Leases/Contracts          Emails with Mr. Neitzel regarding Lexington issues
                                                                                                Telephone conference with Ms. Foster regarding adjournment of sale
                                                                                                hearing (0.3); correspondence with Messrs. Lucas and Rosell regarding
                                                                                                same (0.1); telephone conference with Ms. Foster regarding adjournment
                                                                                                (0.1); correspondence with Messrs. Lucas and Rosell regarding adjourned
8/20/2020 Von Eitzen, Elisabeth M   0.6     $273.00    $455.00 BK11   Asset Disposition         hearing date (0.1)
                                                                                                Telephone conference with Rock Creek and BarFly team regarding
                                                                                                rejection of executory contracts (0.7); begin drafting motion to reject
                                                                      Assumption & Rejection of executory contracts (1.5); continue drafting third omnibus rejection
8/20/2020 Von Eitzen, Elisabeth M   3.2    $1,456.00   $455.00 BK25   Leases/Contracts          motion (1.0)
                                                                      Fee/Employment            Prepare proof of service regarding order to employ Mastodon Ventures,
8/21/2020 Nikodemski, Janet M.      0.3      $57.00    $190.00 BK16   Applications              Inc.
                                                                      Meetings &
                                                                      Communicatons with        Emails regarding Corrigan (0.7); emails regarding Lexington (0.4); emails
8/21/2020 Giunta, Rozanne M         1.5     $682.50    $455.00 BK30   Creditors                 with Krone (0.4)
                                                                                                Correspondence with Mr. Gimpel regarding landlord information (0.4);
8/21/2020 Von Eitzen, Elisabeth M   0.5     $227.50    $455.00 BK11   Asset Disposition         correspondence to Messrs. Lidvall and Neitzel regarding same (0.1)
                                                                      Fee/Employment
8/21/2020 Von Eitzen, Elisabeth M   0.1      $45.50    $455.00 BK16   Applications              Correspondence with Mr. Hersch regarding Mastodon retention order
                                                                      Assumption & Rejection of
8/21/2020 Von Eitzen, Elisabeth M   0.2      $91.00    $455.00 BK25   Leases/Contracts          Correspondence regarding Stella lease
                                                                      Assumption & Rejection of
8/24/2020 Giunta, Rozanne M         0.4     $182.00    $455.00 BK25   Leases/Contracts          Emails regarding Lexington
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                                                                      Assumption & Rejection of
8/24/2020 Woods, Alexandra M        0.2      $52.00    $260.00 BK25   Leases/Contracts          Correspondence with Ms. Von Eitzen regarding leases
                                                                                                Continue drafting third omnibus motion to reject leases (0.3);
                                                                      Assumption & Rejection of correspondence with Messrs. Neitzel, Sellers, and Lidvall regarding third
8/24/2020 Von Eitzen, Elisabeth M   0.5     $227.50    $455.00 BK25   Leases/Contracts          omnibus motion to reject leases (0.2)

                                                                                                Correspondence to landlords regarding adjourning sale hearing (0.2); draft
                                                                                                stipulation and order to adjourn sale hearing (1.5); correspondence with
                                                                                                Mr. Hage regarding same (0.3); correspondence with landlords regarding
                                                                                                stipulation to adjourn hearing (0.3); telephone conference with Mr.
                                                                                                Maggio regarding auction and sale status (0.2); correspondence with
                                                                                                landlords regarding adequate assurance objection deadline (0.2);
                                                                                                correspondence with Mr. Sweeny regarding landlord personal property
                                                                                                located at GRBC (0.2); correspondence with Messrs. Lidvall and Sellers
8/24/2020 Von Eitzen, Elisabeth M   3.3    $1,501.50   $455.00 BK11   Asset Disposition         regarding landlord personal property at GRBC (0.4)
8/25/2020 Andrulis, Loren           0.2     $115.00    $575.00 BK12   Business Operations       Organizational document and business record update
8/25/2020 Giunta, Rozanne M         0.4     $182.00    $455.00 BK13   Case Administration       Emails regarding Corrigan, etc.
                                                                      Assumption & Rejection of Review Grand Rapids Brewing Company lease regarding equipment and
8/25/2020 Woods, Alexandra M        0.7     $182.00    $260.00 BK25   Leases/Contracts          fixtures
                                                                                                Telephone conference with Ms. Foster regarding status of stipulation to
                                                                                                adjourn hearing (0.1); correspondence with creditors regarding stipulation
8/25/2020 Von Eitzen, Elisabeth M   0.4     $182.00    $455.00 BK11   Asset Disposition         to adjourn hearing (0.3)
                                                                                                Conferences with Mr. Lidvall and Neitzel regarding rejection of leases and
                                                                      Assumption & Rejection of executory contracts (1.5); correspondence with Mr. Lidvall regarding third
8/25/2020 Von Eitzen, Elisabeth M   1.6     $728.00    $455.00 BK25   Leases/Contracts          omnibus motion to reject leases (0.1)
8/26/2020 Nikodemski, Janet M.      0.2      $38.00    $190.00 BK13   Case Administration       Prepare proof of service regarding order adjourning hearings
                                                                      Assumption & Rejection of Prepare notice to object to 3rd omnibus rejection of lease (0.4) and proof
8/26/2020 Nikodemski, Janet M.       1      $190.00    $190.00 BK25   Leases/Contracts          of service (0.3); complete motion (.3)
                                                                      Fee/Employment
8/26/2020 Giunta, Rozanne M         0.4     $182.00    $455.00 BK16   Applications              Emails regarding interim payment and Mastadon order
                                                                                                Revise order to adjourn sale hearing to reflect US trustee extension (0.1);
                                                                                                telephone conference and correspondence with Mr. Spiegel regarding
8/26/2020 Von Eitzen, Elisabeth M   0.5     $227.50    $455.00 BK11   Asset Disposition         adequate assurance for Kalamazoo landlord (0.4)
                                                                                                Telephone conference with Mr. Carrillo regarding Kansas City lease
                                                                      Assumption & Rejection of rejection and personal property abandonment (0.2); continue drafting
8/26/2020 Von Eitzen, Elisabeth M   1.9     $864.50    $455.00 BK25   Leases/Contracts          fourth omnibus motion to reject executory contracts (1.7)
                                                                      Claims
8/27/2020 Giunta, Rozanne M         0.5     $227.50    $455.00 BK14   Administration/Objections Review bar date and email regarding same
                                                                                                Correspondence with Mr. Carrillo regarding motion to reject lease (0.1);
                                                                      Assumption & Rejection of correspondence with Mr. Rosell regarding personal property remaining in
8/27/2020 Von Eitzen, Elisabeth M   0.2      $91.00    $455.00 BK25   Leases/Contracts          Kansas City (0.1)
                                                                      Assumption & Rejection of
8/28/2020 Woods, Alexandra M        0.1      $26.00    $260.00 BK25   Leases/Contracts          Correspondence with Ms. Von Eitzen regarding leases
                                                                                                Correspondence from equity owner regarding equity ownership issues
8/28/2020 Andrulis, Loren           0.3     $172.50    $575.00 BK12   Business Operations       (0.1); prepare response (0.2)
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                                                                                                  Correspondence with Ms. West regarding rejection of Madison lease and
                                                                                                  abandonment of personal property (0.2); correspondence with Messrs.
                                                                                                  Lidvall and Neitzel regarding status of personal property in Madison
                                                                                                  location (0.1); correspondence with Mr. Neitzel regarding Indianapolis
                                                                                                  lease (0.1); continue drafting fourth omnibus motion to reject executory
                                                                        Assumption & Rejection of contracts (1.1); correspondence with Messrs. Peirce, Lidvall, Blonk, and
8/28/2020 Von Eitzen, Elisabeth M    1.7      $773.50    $455.00 BK25   Leases/Contracts          Neitzel regarding same (0.2)
                                                                        Assumption & Rejection of Prepare notice and opportunity to reject lease (0.3) and proof of service
8/31/2020 Nikodemski, Janet M.       0.8      $152.00    $190.00 BK25   Leases/Contracts          (0.3); complete motion and order to reject lease (0.2)

                                                                                                  Memo with and conference with Ms. Von Eitzen regarding equity holder
8/31/2020 Andrulis, Loren            0.3      $172.50    $575.00 BK12   Business Operations       question and plan response (0.2); commence draft response (0.1)
8/31/2020 Giunta, Rozanne M          0.6      $273.00    $455.00 BK13   Case Administration       Conference call with Rock Creek regarding schedule issues
                                                                                                  Telephone conference with Rock Creek regarding amendments to
                                                                                                  schedules and correspondence regarding same (0.8); conference with Ms.
8/31/2020 Von Eitzen, Elisabeth M    1.1      $500.50    $455.00 BK13   Case Administration       Giunta regarding schedules (0.3)
                                                                                                  Correspondence with Mr. Lidvall regarding potential lease rejections (0.3);
                                                                                                  revise fourth omnibus motion to reject executory contracts and
                                                                                                  correspondence with Messrs. Lidvall and Neitzel regarding same (0.9);
                                                                        Assumption & Rejection of correspondence with Mr. Lidvall regarding equipment lease with 58 Ionia
8/31/2020 Von Eitzen, Elisabeth M    1.6      $728.00    $455.00 BK25   Leases/Contracts          Holding (0.4)
          TOTAL                     54.6    $24,061.00
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TIME SUMMARY BY TIMEKEEPER

  Date             TKPR Name   Bl Hrs     Billed Amt      Billed Rate Task Code           TC Descrip.                                          Narrative
ANDRULIS, LOREN
                                                                                                              Correspondence with Mr. Pierce regarding employment agreement related
8/14/2020 Andrulis, Loren           0.2         $115.00     $575.00 BK12          Business Operations         matters
                                                                                                              Correspondence from and to Mr. Pierce of Rock Creek regarding APA
                                                                                                              schedule information (0.2); memo and communications with Mr. Keller
                                                                                                              regarding APA schedule requiring trade name information (0.4); follow-up
8/17/2020 Andrulis, Loren           0.8         $460.00     $575.00 BK11          Asset Disposition           correspondence to and from Mr. Pierce (0.2)
                                                                                                              Review and consider list of trade names based on Michigan and other
8/18/2020 Andrulis, Loren           0.4         $230.00     $575.00 BK11          Asset Disposition           filings (0.3); correspondence to Mr. Pierce regarding same (0.1)
8/19/2020 Andrulis, Loren           0.3         $172.50     $575.00 BK12          Business Operations         Memo with Ms. Von Eitzen regarding organizational matters (0.3)
8/25/2020 Andrulis, Loren           0.2         $115.00     $575.00 BK12          Business Operations         Organizational document and business record update
                                                                                                              Correspondence from equity owner regarding equity ownership issues
8/28/2020 Andrulis, Loren           0.3         $172.50     $575.00 BK12          Business Operations         (0.1); prepare response (0.2)

                                                                                                              Memo with and conference with Ms. Von Eitzen regarding equity holder
8/31/2020 Andrulis, Loren           0.3         $172.50     $575.00 BK12          Business Operations         question and plan response (0.2); commence draft response (0.1)
          TOTAL                     2.5       $1,437.50

GIUNTA, ROZANNE
 8/5/2020 Giunta, Rozanne M         0.4         $182.00     $455.00 BK13          Case Administration         Conferences regarding amendments to schedules and matrix
                                                                                  Fee/Employment              Attend hearing regarding opinion on objection to committee retention and
 8/7/2020 Giunta, Rozanne M         0.6         $273.00     $455.00 BK16          Applications                fee order
8/11/2020 Giunta, Rozanne M         0.5         $227.50     $455.00 BK33          Reporting                   Review monthly operating report
                                                                                                              Emails and conferences regarding monthly operating report and arrange
8/12/2020 Giunta, Rozanne M         0.5         $227.50     $455.00 BK33          Reporting                   for filing
8/13/2020 Giunta, Rozanne M         0.6         $273.00     $455.00 BK13          Case Administration         Emails regarding financials, etc.

                                                                                                              Numerous conferences and emails with Hal Nelson regarding Ionia
                                                                                                              Ventures (0.8); conference call with parties regarding status of all matters
8/14/2020 Giunta, Rozanne M         1.7         $773.50     $455.00 BK13          Case Administration         (0.5); emails regarding lease rejection issues and spreadsheet (0.4)
8/17/2020 Giunta, Rozanne M         0.6         $273.00     $455.00 BK13          Case Administration         Emails regarding trademarks and email regarding Ionia lease
                                                                                  Assumption & Rejection of
8/18/2020 Giunta, Rozanne M         0.8         $364.00     $455.00 BK25          Leases/Contracts          Numerous emails regarding Lexington location/landlord
                                                                                                            Emails and conferences regarding budget (0.6); emails and conferences
8/19/2020 Giunta, Rozanne M         1.2         $546.00     $455.00 BK13          Case Administration       regarding hearing issues (0.6)
                                                                                  Meetings &                Emails regarding Corrigan and review proposed stipulation (0.6);
                                                                                  Communicatons with        conference with IRS regarding status (0.2); emails regarding Lexington
8/20/2020 Giunta, Rozanne M         1.4         $637.00     $455.00 BK30          Creditors                 location (0.4); email with Florida AG regarding filing (0.2)
                                                                                  Assumption & Rejection of
8/20/2020 Giunta, Rozanne M         0.6         $273.00     $455.00 BK25          Leases/Contracts          Emails with Mr. Neitzel regarding Lexington issues
                                                                                  Meetings &
                                                                                  Communicatons with        Emails regarding Corrigan (0.7); emails regarding Lexington (0.4); emails
8/21/2020 Giunta, Rozanne M         1.5         $682.50     $455.00 BK30          Creditors                 with Krone (0.4)
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                                                                       Assumption & Rejection of
8/24/2020 Giunta, Rozanne M          0.4     $182.00    $455.00 BK25   Leases/Contracts            Emails regarding Lexington
8/25/2020 Giunta, Rozanne M          0.4     $182.00    $455.00 BK13   Case Administration         Emails regarding Corrigan, etc.
                                                                       Fee/Employment
8/26/2020 Giunta, Rozanne M          0.4     $182.00    $455.00 BK16   Applications                Emails regarding interim payment and Mastadon order
                                                                       Claims
8/27/2020 Giunta, Rozanne M          0.5      $227.50   $455.00 BK14   Administration/Objections   Review bar date and email regarding same
8/31/2020 Giunta, Rozanne M          0.6      $273.00   $455.00 BK13   Case Administration         Conference call with Rock Creek regarding schedule issues
          TOTAL                     12.7    $5,778.50

GROW, STEPHEN
                                                                                                   Review docket and pending matters (0.3); telephone conference with Ms.
8/14/2020 Grow, Stephen B.           0.6     $357.00    $595.00 BK13   Case Administration         Von Eitzen regarding structured dismissal (0.3)
          TOTAL                      0.6     $357.00

KELLER, SCOTT
                                                                                                   Emails with Mr. Andrulis regarding the trade names and trademarks owned
                                                                                                   and the difference between them in order to supply the right information
8/17/2020 Keller, R. Scott           0.5     $305.00    $610.00 BK11   Asset Disposition           for the asset purchase agreement
8/18/2020 Keller, R. Scott           0.2     $122.00    $610.00 BK11   Asset Disposition           Review the list of trade names and provide input
          TOTAL                      0.7     $427.00

NIKODEMSKI, JANET
                                                                       Fee/Employment              Complete response to objections to fee statements (0.2); prepare proof of
 8/3/2020 Nikodemski, Janet M.       0.4      $76.00    $190.00 BK16   Applications                service (0.2)
                                                                       Claims                      Check docket for objections (0.1); prepare certification of no objections to
8/12/2020 Nikodemski, Janet M.       0.3      $57.00    $190.00 BK14   Administration/Objections   motion for bar date (0.2)
                                                                       Assumption & Rejection of   Check docket for objects (0.1); prepare certification of no objections to
8/12/2020 Nikodemski, Janet M.       0.3      $57.00    $190.00 BK25   Leases/Contracts            motion for rejection of certain leases (0.2)
                                                                       Fee/Employment
8/18/2020 Nikodemski, Janet M.       0.4      $76.00    $190.00 BK16   Applications                Prepare notice of amended order to employ Mastodon
                                                                       Assumption & Rejection of
8/19/2020 Nikodemski, Janet M.       0.3      $57.00    $190.00 BK25   Leases/Contracts            Prepare proof of service regarding order rejecting leases
                                                                       Fee/Employment              Prepare proof of service regarding order to employ Mastodon Ventures,
8/21/2020 Nikodemski, Janet M.       0.3      $57.00    $190.00 BK16   Applications                Inc.
8/26/2020 Nikodemski, Janet M.       0.2      $38.00    $190.00 BK13   Case Administration         Prepare proof of service regarding order adjourning hearings
                                                                       Assumption & Rejection of   Prepare notice to object to 3rd omnibus rejection of lease (0.4) and proof
8/26/2020 Nikodemski, Janet M.        1      $190.00    $190.00 BK25   Leases/Contracts            of service (0.3); complete motion (.3)
                                                                       Assumption & Rejection of   Prepare notice and opportunity to reject lease (0.3) and proof of service
8/31/2020 Nikodemski, Janet M.       0.8     $152.00    $190.00 BK25   Leases/Contracts            (0.3); complete motion and order to reject lease (0.2)
          TOTAL                        4     $760.00

VON EITZEN, ELISABETH
                                                                       Fee/Employment              Review and revise response to FSB objection to fee statement and
 8/3/2020 Von Eitzen, Elisabeth M    0.5     $227.50    $455.00 BK16   Applications                correspondence regarding same
 8/4/2020 Von Eitzen, Elisabeth M    0.1      $45.50    $455.00 BK11   Asset Disposition           Correspondence with Mr. Rayman regarding auction
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                                                                       Fee/Employment
 8/4/2020 Von Eitzen, Elisabeth M   0.1       $45.50    $455.00 BK16   Applications                Correspondence with Mr. Hersch regarding hearing on fee statements

                                                                       Assumption & Rejection of Correspondence with BarFly and Rock Creek regarding rejection timeline
 8/4/2020 Von Eitzen, Elisabeth M   0.3      $136.50    $455.00 BK25   Leases/Contracts          (0.2); correspondence with Mr. Kozak regarding ice machine lease (0.1)
                                                                                                 Correspondence with Mr. Nidvall regarding rejection of leases and
                                                                                                 executory contracts (0.5); review ice machine lease (0.3); correspondence
                                                                                                 to Mr. Kozak regarding additional personal property leases (0.1); telephone
                                                                       Assumption & Rejection of conference and correspondence with Mr. Moyer regarding assumption and
 8/5/2020 Von Eitzen, Elisabeth M    1       $455.00    $455.00 BK25   Leases/Contracts          cure notice (0.1)
                                                                       Fee/Employment
 8/6/2020 Von Eitzen, Elisabeth M   1.7      $773.50    $455.00 BK16   Applications              Attend hearing on objection to committee retention and fee order
                                                                       Assumption & Rejection of Review proposed amendment to Indianapolis lease and correspondence
 8/6/2020 Von Eitzen, Elisabeth M   0.4      $182.00    $455.00 BK25   Leases/Contracts          with Mr. Neitzel regarding same
                                                                       Fee/Employment            Begin preparing fee statement for July fee statement (0.5);
8/11/2020 Von Eitzen, Elisabeth M   0.6      $273.00    $455.00 BK16   Applications              correspondence with Mr. Lucas regarding July fee statements (0.1)
                                                                       Claims                    Review and revise proposed bar date order and attention to service issues
8/12/2020 Von Eitzen, Elisabeth M   0.2       $91.00    $455.00 BK14   Administration/Objections regarding same
                                                                       Fee/Employment            Telephone conference with Mr. Maggio regarding Mastodon retention
8/12/2020 Von Eitzen, Elisabeth M   0.2       $91.00    $455.00 BK16   Applications              order
8/12/2020 Von Eitzen, Elisabeth M   0.2       $91.00    $455.00 BK18   Litigation                Telephone conference with Mr. Altman regarding Chicago litigation
                                                                                                 Review cure objections (0.9); draft spreadsheet regarding cure notices and
                                                                       Assumption & Rejection of objections to same (0.5); correspondence to Rock Creek regarding cure
8/12/2020 Von Eitzen, Elisabeth M   1.5      $682.50    $455.00 BK25   Leases/Contracts          objection spreadsheet (0.1)
                                                                                                 Revise PSZ&J July fee statement (0.2); correspondence with Mr. Neitzel
                                                                                                 regarding Rock Creek fee statement (0.1); telephone conference with Mr.
                                                                                                 Andrulis regarding retention order and fee order (0.3); telephone
                                                                       Fee/Employment            conference with Ms. Giunta regarding same (0.2); continue drafting July
8/13/2020 Von Eitzen, Elisabeth M    1       $455.00    $455.00 BK16   Applications              2020 fee statement (0.2)
                                                                                                 Conference with Mr. Grow regarding case status (0.4); telephone
                                                                                                 conference with Messrs. Lucas and Rosell and Ms. Giunta regarding case
8/14/2020 Von Eitzen, Elisabeth M   0.9      $409.50    $455.00 BK13   Case Administration       strategy, sale status, and assumption and rejection of leases (0.5)
                                                                       Assumption & Rejection of Correspondence with Messrs. Lidvell and Sellers regarding assumption and
8/14/2020 Von Eitzen, Elisabeth M   0.8      $364.00    $455.00 BK25   Leases/Contracts          rejection of leases
                                                                                                 Telephone conference with Mr. Maggio regarding Mastodon employment
                                                                       Fee/Employment            application (0.1); correspondence with Messrs. Hersch and Lucas regarding
8/17/2020 Von Eitzen, Elisabeth M   0.2       $91.00    $455.00 BK16   Applications              same (0.1)
                                                                       Fee/Employment            Revise Mastodon retention order (0.2); correspondence with Mr. Hersch
8/18/2020 Von Eitzen, Elisabeth M   0.3      $136.50    $455.00 BK16   Applications              regarding Mastodon retention order (0.1)
                                                                       Assumption & Rejection of
8/18/2020 Von Eitzen, Elisabeth M   2.7     $1,228.50   $455.00 BK25   Leases/Contracts          Begin drafting third omnibus motion to reject leases
                                                                                                 Correspondence to Mr. Sher regarding cure objection (0.1);
                                                                                                 correspondence with Rock Creek regarding cure reconciliation (0.2);
                                                                                                 correspondence with Mr. Witte regarding cure objection (0.1);
                                                                                                 correspondence with Ms. Deeby regarding cure objection (0.1); telephone
8/19/2020 Von Eitzen, Elisabeth M   0.8      $364.00    $455.00 BK11   Asset Disposition         conference with Mr. Lucas regarding sale hearing (0.3)
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                                                                                                 Correspondence with Mr. Hersch regarding Mastodon retention (0.2);
                                                                                                 telephone conference with Mr. Maggio regarding Mastodon retention
                                                                                                 order (0.3); correspondence with Mr. Ayers regarding payment of
                                                                       Fee/Employment            professional fees (0.1); telephone conference with Mr. Ayers regarding
8/19/2020 Von Eitzen, Elisabeth M   0.7      $318.50    $455.00 BK16   Applications              payment of professional fees (0.1)
                                                                                                 Correspondence with Mr. Lucas regarding rejection motion (0.1);
                                                                                                 correspondence with Messrs. Lidvall, Sellers, and Rock Creek regarding
                                                                       Assumption & Rejection of rejection of executory contracts (0.3); continue drafting third omnibus
8/19/2020 Von Eitzen, Elisabeth M   1.2      $546.00    $455.00 BK25   Leases/Contracts          rejection motion (0.8)
                                                                       Meetings &
                                                                       Communicatons with        Correspondence with Mr. Sweeny regarding MMSH, LLC and assignment of
8/19/2020 Von Eitzen, Elisabeth M   0.2       $91.00    $455.00 BK30   Creditors                 Waldron lease
                                                                                                 Telephone conference with Ms. Foster regarding adjournment of sale
                                                                                                 hearing (0.3); correspondence with Messrs. Lucas and Rosell regarding
                                                                                                 same (0.1); telephone conference with Ms. Foster regarding adjournment
                                                                                                 (0.1); correspondence with Messrs. Lucas and Rosell regarding adjourned
8/20/2020 Von Eitzen, Elisabeth M   0.6      $273.00    $455.00 BK11   Asset Disposition         hearing date (0.1)
                                                                                                 Telephone conference with Rock Creek and BarFly team regarding
                                                                                                 rejection of executory contracts (0.7); begin drafting motion to reject
                                                                       Assumption & Rejection of executory contracts (1.5); continue drafting third omnibus rejection
8/20/2020 Von Eitzen, Elisabeth M   3.2     $1,456.00   $455.00 BK25   Leases/Contracts          motion (1.0)
                                                                                                 Correspondence with Mr. Gimpel regarding landlord information (0.4);
8/21/2020 Von Eitzen, Elisabeth M   0.5      $227.50    $455.00 BK11   Asset Disposition         correspondence to Messrs. Lidvall and Neitzel regarding same (0.1)
                                                                       Fee/Employment
8/21/2020 Von Eitzen, Elisabeth M   0.1       $45.50    $455.00 BK16   Applications              Correspondence with Mr. Hersch regarding Mastodon retention order
                                                                       Assumption & Rejection of
8/21/2020 Von Eitzen, Elisabeth M   0.2       $91.00    $455.00 BK25   Leases/Contracts          Correspondence regarding Stella lease
                                                                                                 Continue drafting third omnibus motion to reject leases (0.3);
                                                                       Assumption & Rejection of correspondence with Messrs. Neitzel, Sellers, and Lidvall regarding third
8/24/2020 Von Eitzen, Elisabeth M   0.5      $227.50    $455.00 BK25   Leases/Contracts          omnibus motion to reject leases (0.2)

                                                                                                 Correspondence to landlords regarding adjourning sale hearing (0.2); draft
                                                                                                 stipulation and order to adjourn sale hearing (1.5); correspondence with
                                                                                                 Mr. Hage regarding same (0.3); correspondence with landlords regarding
                                                                                                 stipulation to adjourn hearing (0.3); telephone conference with Mr. Maggio
                                                                                                 regarding auction and sale status (0.2); correspondence with landlords
                                                                                                 regarding adequate assurance objection deadline (0.2); correspondence
                                                                                                 with Mr. Sweeny regarding landlord personal property located at GRBC
                                                                                                 (0.2); correspondence with Messrs. Lidvall and Sellers regarding landlord
8/24/2020 Von Eitzen, Elisabeth M   3.3     $1,501.50   $455.00 BK11   Asset Disposition         personal property at GRBC (0.4)
                                                                                                 Telephone conference with Ms. Foster regarding status of stipulation to
                                                                                                 adjourn hearing (0.1); correspondence with creditors regarding stipulation
8/25/2020 Von Eitzen, Elisabeth M   0.4      $182.00    $455.00 BK11   Asset Disposition         to adjourn hearing (0.3)
                                                                                                 Conferences with Mr. Lidvall and Neitzel regarding rejection of leases and
                                                                       Assumption & Rejection of executory contracts (1.5); correspondence with Mr. Lidvall regarding third
8/25/2020 Von Eitzen, Elisabeth M   1.6      $728.00    $455.00 BK25   Leases/Contracts          omnibus motion to reject leases (0.1)
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                                                                                                    Revise order to adjourn sale hearing to reflect US trustee extension (0.1);
                                                                                                    telephone conference and correspondence with Mr. Spiegel regarding
8/26/2020 Von Eitzen, Elisabeth M     0.5     $227.50    $455.00 BK11   Asset Disposition           adequate assurance for Kalamazoo landlord (0.4)
                                                                                                    Telephone conference with Mr. Carrillo regarding Kansas City lease
                                                                        Assumption & Rejection of   rejection and personal property abandonment (0.2); continue drafting
8/26/2020 Von Eitzen, Elisabeth M     1.9     $864.50    $455.00 BK25   Leases/Contracts            fourth omnibus motion to reject executory contracts (1.7)
                                                                                                    Correspondence with Mr. Carrillo regarding motion to reject lease (0.1);
                                                                        Assumption & Rejection of   correspondence with Mr. Rosell regarding personal property remaining in
8/27/2020 Von Eitzen, Elisabeth M     0.2      $91.00    $455.00 BK25   Leases/Contracts            Kansas City (0.1)
                                                                                                    Correspondence with Ms. West regarding rejection of Madison lease and
                                                                                                    abandonment of personal property (0.2); correspondence with Messrs.
                                                                                                    Lidvall and Neitzel regarding status of personal property in Madison
                                                                                                    location (0.1); correspondence with Mr. Neitzel regarding Indianapolis
                                                                                                    lease (0.1); continue drafting fourth omnibus motion to reject executory
                                                                        Assumption & Rejection of   contracts (1.1); correspondence with Messrs. Peirce, Lidvall, Blonk, and
8/28/2020 Von Eitzen, Elisabeth M     1.7     $773.50    $455.00 BK25   Leases/Contracts            Neitzel regarding same (0.2)
                                                                                                    Telephone conference with Rock Creek regarding amendments to
                                                                                                    schedules and correspondence regarding same (0.8); conference with Ms.
8/31/2020 Von Eitzen, Elisabeth M     1.1     $500.50    $455.00 BK13   Case Administration         Giunta regarding schedules (0.3)
                                                                                                    Correspondence with Mr. Lidvall regarding potential lease rejections (0.3);
                                                                                                    revise fourth omnibus motion to reject executory contracts and
                                                                                                    correspondence with Messrs. Lidvall and Neitzel regarding same (0.9);
                                                                        Assumption & Rejection of   correspondence with Mr. Lidvall regarding equipment lease with 58 Ionia
8/31/2020 Von Eitzen, Elisabeth M     1.6      $728.00   $455.00 BK25   Leases/Contracts            Holding (0.4)
          TOTAL                       33    $15,015.00

WOODS, ALEXANDRA
                                                                        Assumption & Rejection of
8/20/2020 Woods, Alexandra M          0.1      $26.00    $260.00 BK25   Leases/Contracts            Correspondence with Ms. Von Eitzen regarding leases
                                                                        Assumption & Rejection of
8/24/2020 Woods, Alexandra M          0.2      $52.00    $260.00 BK25   Leases/Contracts            Correspondence with Ms. Von Eitzen regarding leases
                                                                        Assumption & Rejection of   Review Grand Rapids Brewing Company lease regarding equipment and
8/25/2020 Woods, Alexandra M          0.7     $182.00    $260.00 BK25   Leases/Contracts            fixtures
                                                                        Assumption & Rejection of
8/28/2020 Woods, Alexandra M          0.1      $26.00    $260.00 BK25   Leases/Contracts            Correspondence with Ms. Von Eitzen regarding leases
          TOTAL                       1.1      $286.00

          TOTAL OF ALL TIMEKEEPERS   54.6   $24,061.00
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TIME SUMMARY BY PHASE CODE
   Date            TKPR Name        Bl Hrs     Billed Amt      Billed Rate Task Code           TC Descrip.                                   Narrative
ASSET DISPOSITION
 8/4/2020 Von Eitzen, Elisabeth M        0.1          $45.50     $455.00 BK11          Asset Disposition     Correspondence with Mr. Rayman regarding auction
                                                                                                             Emails with Mr. Andrulis regarding the trade names and trademarks owned
                                                                                                             and the difference between them in order to supply the right information
8/17/2020 Keller, R. Scott               0.5         $305.00     $610.00 BK11          Asset Disposition     for the asset purchase agreement
                                                                                                             Correspondence from and to Mr. Pierce of Rock Creek regarding APA
                                                                                                             schedule information (0.2); memo and communications with Mr. Keller
                                                                                                             regarding APA schedule requiring trade name information (0.4); follow-up
8/17/2020 Andrulis, Loren                0.8         $460.00     $575.00 BK11          Asset Disposition     correspondence to and from Mr. Pierce (0.2)
8/18/2020 Keller, R. Scott               0.2         $122.00     $610.00 BK11          Asset Disposition     Review the list of trade names and provide input
                                                                                                             Review and consider list of trade names based on Michigan and other
8/18/2020 Andrulis, Loren                0.4         $230.00     $575.00 BK11          Asset Disposition     filings (0.3); correspondence to Mr. Pierce regarding same (0.1)
                                                                                                             Correspondence to Mr. Sher regarding cure objection (0.1);
                                                                                                             correspondence with Rock Creek regarding cure reconciliation (0.2);
                                                                                                             correspondence with Mr. Witte regarding cure objection (0.1);
                                                                                                             correspondence with Ms. Deeby regarding cure objection (0.1); telephone
8/19/2020 Von Eitzen, Elisabeth M        0.8         $364.00     $455.00 BK11          Asset Disposition     conference with Mr. Lucas regarding sale hearing (0.3)
                                                                                                             Telephone conference with Ms. Foster regarding adjournment of sale
                                                                                                             hearing (0.3); correspondence with Messrs. Lucas and Rosell regarding
                                                                                                             same (0.1); telephone conference with Ms. Foster regarding adjournment
                                                                                                             (0.1); correspondence with Messrs. Lucas and Rosell regarding adjourned
8/20/2020 Von Eitzen, Elisabeth M        0.6         $273.00     $455.00 BK11          Asset Disposition     hearing date (0.1)
                                                                                                             Correspondence with Mr. Gimpel regarding landlord information (0.4);
8/21/2020 Von Eitzen, Elisabeth M        0.5         $227.50     $455.00 BK11          Asset Disposition     correspondence to Messrs. Lidvall and Neitzel regarding same (0.1)

                                                                                                             Correspondence to landlords regarding adjourning sale hearing (0.2); draft
                                                                                                             stipulation and order to adjourn sale hearing (1.5); correspondence with
                                                                                                             Mr. Hage regarding same (0.3); correspondence with landlords regarding
                                                                                                             stipulation to adjourn hearing (0.3); telephone conference with Mr. Maggio
                                                                                                             regarding auction and sale status (0.2); correspondence with landlords
                                                                                                             regarding adequate assurance objection deadline (0.2); correspondence
                                                                                                             with Mr. Sweeny regarding landlord personal property located at GRBC
                                                                                                             (0.2); correspondence with Messrs. Lidvall and Sellers regarding landlord
8/24/2020 Von Eitzen, Elisabeth M        3.3       $1,501.50     $455.00 BK11          Asset Disposition     personal property at GRBC (0.4)
                                                                                                             Telephone conference with Ms. Foster regarding status of stipulation to
                                                                                                             adjourn hearing (0.1); correspondence with creditors regarding stipulation
8/25/2020 Von Eitzen, Elisabeth M        0.4         $182.00     $455.00 BK11          Asset Disposition     to adjourn hearing (0.3)
                                                                                                             Revise order to adjourn sale hearing to reflect US trustee extension (0.1);
                                                                                                             telephone conference and correspondence with Mr. Spiegel regarding
8/26/2020 Von Eitzen, Elisabeth M        0.5         $227.50     $455.00 BK11          Asset Disposition     adequate assurance for Kalamazoo landlord (0.4)
          TOTAL                          8.1       $3,938.00

BUSINESS OPERATIONS
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                                                                                                     Correspondence with Mr. Pierce regarding employment agreement related
8/14/2020 Andrulis, Loren            0.2     $115.00    $575.00 BK12     Business Operations         matters
8/19/2020 Andrulis, Loren            0.3     $172.50    $575.00 BK12     Business Operations         Memo with Ms. Von Eitzen regarding organizational matters (0.3)
8/25/2020 Andrulis, Loren            0.2     $115.00    $575.00 BK12     Business Operations         Organizational document and business record update
                                                                                                     Correspondence from equity owner regarding equity ownership issues
8/28/2020 Andrulis, Loren            0.3     $172.50    $575.00 BK12     Business Operations         (0.1); prepare response (0.2)

                                                                                                     Memo with and conference with Ms. Von Eitzen regarding equity holder
8/31/2020 Andrulis, Loren            0.3     $172.50    $575.00 BK12     Business Operations         question and plan response (0.2); commence draft response (0.1)
          TOTAL                      1.3     $747.50

CASE ADMINISTRATION
 8/5/2020 Giunta, Rozanne M          0.4     $182.00    $455.00 BK13     Case Administration         Conferences regarding amendments to schedules and matrix
8/13/2020 Giunta, Rozanne M          0.6     $273.00    $455.00 BK13     Case Administration         Emails regarding financials, etc.
                                                                                                     Conference with Mr. Grow regarding case status (0.4); telephone
                                                                                                     conference with Messrs. Lucas and Rosell and Ms. Giunta regarding case
8/14/2020 Von Eitzen, Elisabeth M    0.9     $409.50    $455.00 BK13     Case Administration         strategy, sale status, and assumption and rejection of leases (0.5)
                                                                                                     Review docket and pending matters (0.3); telephone conference with Ms.
8/14/2020 Grow, Stephen B.           0.6     $357.00    $595.00 BK13     Case Administration         Von Eitzen regarding structured dismissal (0.3)

                                                                                                     Numerous conferences and emails with Hal Nelson regarding Ionia
                                                                                                     Ventures (0.8); conference call with parties regarding status of all matters
8/14/2020 Giunta, Rozanne M          1.7     $773.50    $455.00 BK13     Case Administration         (0.5); emails regarding lease rejection issues and spreadsheet (0.4)
8/17/2020 Giunta, Rozanne M          0.6     $273.00    $455.00 BK13     Case Administration         Emails regarding trademarks and email regarding Ionia lease
                                                                                                     Emails and conferences regarding budget (0.6); emails and conferences
8/19/2020   Giunta, Rozanne M        1.2     $546.00    $455.00   BK13   Case Administration         regarding hearing issues (0.6)
8/25/2020   Giunta, Rozanne M        0.4     $182.00    $455.00   BK13   Case Administration         Emails regarding Corrigan, etc.
8/26/2020   Nikodemski, Janet M.     0.2      $38.00    $190.00   BK13   Case Administration         Prepare proof of service regarding order adjourning hearings
8/31/2020   Giunta, Rozanne M        0.6     $273.00    $455.00   BK13   Case Administration         Conference call with Rock Creek regarding schedule issues
                                                                                                     Telephone conference with Rock Creek regarding amendments to
                                                                                                     schedules and correspondence regarding same (0.8); conference with Ms.
8/31/2020 Von Eitzen, Elisabeth M    1.1      $500.50   $455.00 BK13     Case Administration         Giunta regarding schedules (0.3)
          TOTAL                      8.3    $3,807.50

CLAIMS ADMINISTRATION/OBJECTIONS
                                                                         Claims                      Check docket for objections (0.1); prepare certification of no objections to
8/12/2020 Nikodemski, Janet M.       0.3      $57.00    $190.00 BK14     Administration/Objections   motion for bar date (0.2)
                                                                         Claims                      Review and revise proposed bar date order and attention to service issues
8/12/2020 Von Eitzen, Elisabeth M    0.2      $91.00    $455.00 BK14     Administration/Objections   regarding same
                                                                         Claims
8/27/2020 Giunta, Rozanne M          0.5     $227.50    $455.00 BK14     Administration/Objections   Review bar date and email regarding same
          TOTAL                        1     $375.50

FEE/EMPLOYMENT APPLICATIONS
                                                                         Fee/Employment              Complete response to objections to fee statements (0.2); prepare proof of
 8/3/2020 Nikodemski, Janet M.       0.4      $76.00    $190.00 BK16     Applications                service (0.2)
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                                                                            Fee/Employment             Review and revise response to FSB objection to fee statement and
 8/3/2020 Von Eitzen, Elisabeth M       0.5       $227.50    $455.00 BK16   Applications               correspondence regarding same
                                                                            Fee/Employment
 8/4/2020 Von Eitzen, Elisabeth M       0.1        $45.50    $455.00 BK16   Applications               Correspondence with Mr. Hersch regarding hearing on fee statements
                                                                            Fee/Employment
 8/6/2020 Von Eitzen, Elisabeth M       1.7       $773.50    $455.00 BK16   Applications               Attend hearing on objection to committee retention and fee order
                                                                            Fee/Employment             Attend hearing regarding opinion on objection to committee retention and
 8/7/2020 Giunta, Rozanne M             0.6       $273.00    $455.00 BK16   Applications               fee order
                                                                            Fee/Employment             Begin preparing fee statement for July fee statement (0.5);
8/11/2020 Von Eitzen, Elisabeth M       0.6       $273.00    $455.00 BK16   Applications               correspondence with Mr. Lucas regarding July fee statements (0.1)
                                                                            Fee/Employment             Telephone conference with Mr. Maggio regarding Mastodon retention
8/12/2020 Von Eitzen, Elisabeth M       0.2        $91.00    $455.00 BK16   Applications               order
                                                                                                       Revise PSZ&J July fee statement (0.2); correspondence with Mr. Neitzel
                                                                                                       regarding Rock Creek fee statement (0.1); telephone conference with Mr.
                                                                                                       Andrulis regarding retention order and fee order (0.3); telephone
                                                                            Fee/Employment             conference with Ms. Giunta regarding same (0.2); continue drafting July
8/13/2020 Von Eitzen, Elisabeth M            1    $455.00    $455.00 BK16   Applications               2020 fee statement (0.2)
                                                                                                       Telephone conference with Mr. Maggio regarding Mastodon employment
                                                                            Fee/Employment             application (0.1); correspondence with Messrs. Hersch and Lucas regarding
8/17/2020 Von Eitzen, Elisabeth M       0.2        $91.00    $455.00 BK16   Applications               same (0.1)
                                                                            Fee/Employment
8/18/2020 Nikodemski, Janet M.          0.4        $76.00    $190.00 BK16   Applications               Prepare notice of amended order to employ Mastodon
                                                                            Fee/Employment             Revise Mastodon retention order (0.2); correspondence with Mr. Hersch
8/18/2020 Von Eitzen, Elisabeth M       0.3       $136.50    $455.00 BK16   Applications               regarding Mastodon retention order (0.1)
                                                                                                       Correspondence with Mr. Hersch regarding Mastodon retention (0.2);
                                                                                                       telephone conference with Mr. Maggio regarding Mastodon retention
                                                                                                       order (0.3); correspondence with Mr. Ayers regarding payment of
                                                                            Fee/Employment             professional fees (0.1); telephone conference with Mr. Ayers regarding
8/19/2020 Von Eitzen, Elisabeth M       0.7       $318.50    $455.00 BK16   Applications               payment of professional fees (0.1)
                                                                            Fee/Employment             Prepare proof of service regarding order to employ Mastodon Ventures,
8/21/2020 Nikodemski, Janet M.          0.3        $57.00    $190.00 BK16   Applications               Inc.
                                                                            Fee/Employment
8/21/2020 Von Eitzen, Elisabeth M       0.1        $45.50    $455.00 BK16   Applications               Correspondence with Mr. Hersch regarding Mastodon retention order
                                                                            Fee/Employment
8/26/2020 Giunta, Rozanne M             0.4        $182.00   $455.00 BK16   Applications               Emails regarding interim payment and Mastadon order
          TOTAL                         7.5      $3,121.00

LITIGATION
 8/12/2020 Von Eitzen, Elisabeth M      0.2        $91.00    $455.00 BK18   Litigation                 Telephone conference with Mr. Altman regarding Chicago litigation
           TOTAL                        0.2        $91.00

ASSUMPTION & REJECTION OF LEASES/CONTRACTS

                                                                            Assumption & Rejection of Correspondence with BarFly and Rock Creek regarding rejection timeline
 8/4/2020 Von Eitzen, Elisabeth M       0.3       $136.50    $455.00 BK25   Leases/Contracts          (0.2); correspondence with Mr. Kozak regarding ice machine lease (0.1)
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                                                                                                   Correspondence with Mr. Nidvall regarding rejection of leases and
                                                                                                   executory contracts (0.5); review ice machine lease (0.3); correspondence
                                                                                                   to Mr. Kozak regarding additional personal property leases (0.1); telephone
                                                                       Assumption & Rejection of   conference and correspondence with Mr. Moyer regarding assumption and
 8/5/2020 Von Eitzen, Elisabeth M     1      $455.00           BK25    Leases/Contracts            cure notice (0.1)
                                                                       Assumption & Rejection of   Review proposed amendment to Indianapolis lease and correspondence
 8/6/2020 Von Eitzen, Elisabeth M    0.4     $182.00    $455.00 BK25   Leases/Contracts            with Mr. Neitzel regarding same
                                                                       Assumption & Rejection of   Check docket for objects (0.1); prepare certification of no objections to
8/12/2020 Nikodemski, Janet M.       0.3      $57.00    $190.00 BK25   Leases/Contracts            motion for rejection of certain leases (0.2)
                                                                                                   Review cure objections (0.9); draft spreadsheet regarding cure notices and
                                                                       Assumption & Rejection of   objections to same (0.5); correspondence to Rock Creek regarding cure
8/12/2020 Von Eitzen, Elisabeth M    1.5     $682.50    $455.00 BK25   Leases/Contracts            objection spreadsheet (0.1)
                                                                       Assumption & Rejection of   Correspondence with Messrs. Lidvell and Sellers regarding assumption and
8/14/2020 Von Eitzen, Elisabeth M    0.8     $364.00    $455.00 BK25   Leases/Contracts            rejection of leases
                                                                       Assumption & Rejection of
8/18/2020 Giunta, Rozanne M          0.8     $364.00    $455.00 BK25   Leases/Contracts          Numerous emails regarding Lexington location/landlord
                                                                       Assumption & Rejection of
8/18/2020 Von Eitzen, Elisabeth M    2.7    $1,228.50   $455.00 BK25   Leases/Contracts          Begin drafting third omnibus motion to reject leases
                                                                       Assumption & Rejection of
8/19/2020 Nikodemski, Janet M.       0.3      $57.00    $190.00 BK25   Leases/Contracts          Prepare proof of service regarding order rejecting leases
                                                                                                 Correspondence with Mr. Lucas regarding rejection motion (0.1);
                                                                                                 correspondence with Messrs. Lidvall, Sellers, and Rock Creek regarding
                                                                       Assumption & Rejection of rejection of executory contracts (0.3); continue drafting third omnibus
8/19/2020 Von Eitzen, Elisabeth M    1.2     $546.00    $455.00 BK25   Leases/Contracts          rejection motion (0.8)
                                                                       Assumption & Rejection of
8/20/2020 Woods, Alexandra M         0.1      $26.00    $260.00 BK25   Leases/Contracts          Correspondence with Ms. Von Eitzen regarding leases
                                                                       Assumption & Rejection of
8/20/2020 Giunta, Rozanne M          0.6     $273.00    $455.00 BK25   Leases/Contracts          Emails with Mr. Neitzel regarding Lexington issues
                                                                                                 Telephone conference with Rock Creek and BarFly team regarding
                                                                                                 rejection of executory contracts (0.7); begin drafting motion to reject
                                                                       Assumption & Rejection of executory contracts (1.5); continue drafting third omnibus rejection
8/20/2020 Von Eitzen, Elisabeth M    3.2    $1,456.00   $455.00 BK25   Leases/Contracts          motion (1.0)
                                                                       Assumption & Rejection of
8/21/2020 Von Eitzen, Elisabeth M    0.2      $91.00    $455.00 BK25   Leases/Contracts          Correspondence regarding Stella lease
                                                                       Assumption & Rejection of
8/24/2020 Giunta, Rozanne M          0.4     $182.00    $455.00 BK25   Leases/Contracts          Emails regarding Lexington
                                                                       Assumption & Rejection of
8/24/2020 Woods, Alexandra M         0.2      $52.00    $260.00 BK25   Leases/Contracts          Correspondence with Ms. Von Eitzen regarding leases
                                                                                                 Continue drafting third omnibus motion to reject leases (0.3);
                                                                       Assumption & Rejection of correspondence with Messrs. Neitzel, Sellers, and Lidvall regarding third
8/24/2020 Von Eitzen, Elisabeth M    0.5     $227.50    $455.00 BK25   Leases/Contracts          omnibus motion to reject leases (0.2)
                                                                       Assumption & Rejection of Review Grand Rapids Brewing Company lease regarding equipment and
8/25/2020 Woods, Alexandra M         0.7     $182.00    $260.00 BK25   Leases/Contracts          fixtures
                                                                                                 Conferences with Mr. Lidvall and Neitzel regarding rejection of leases and
                                                                       Assumption & Rejection of executory contracts (1.5); correspondence with Mr. Lidvall regarding third
8/25/2020 Von Eitzen, Elisabeth M    1.6     $728.00    $455.00 BK25   Leases/Contracts          omnibus motion to reject leases (0.1)
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                                                                           Assumption & Rejection of Prepare notice to object to 3rd omnibus rejection of lease (0.4) and proof
8/26/2020 Nikodemski, Janet M.             1     $190.00    $190.00 BK25   Leases/Contracts          of service (0.3); complete motion (.3)
                                                                                                     Telephone conference with Mr. Carrillo regarding Kansas City lease
                                                                           Assumption & Rejection of rejection and personal property abandonment (0.2); continue drafting
8/26/2020 Von Eitzen, Elisabeth M      1.9       $864.50    $455.00 BK25   Leases/Contracts          fourth omnibus motion to reject executory contracts (1.7)
                                                                                                     Correspondence with Mr. Carrillo regarding motion to reject lease (0.1);
                                                                           Assumption & Rejection of correspondence with Mr. Rosell regarding personal property remaining in
8/27/2020 Von Eitzen, Elisabeth M      0.2        $91.00    $455.00 BK25   Leases/Contracts          Kansas City (0.1)
                                                                           Assumption & Rejection of
8/28/2020 Woods, Alexandra M           0.1        $26.00    $260.00 BK25   Leases/Contracts          Correspondence with Ms. Von Eitzen regarding leases
                                                                                                     Correspondence with Ms. West regarding rejection of Madison lease and
                                                                                                     abandonment of personal property (0.2); correspondence with Messrs.
                                                                                                     Lidvall and Neitzel regarding status of personal property in Madison
                                                                                                     location (0.1); correspondence with Mr. Neitzel regarding Indianapolis
                                                                                                     lease (0.1); continue drafting fourth omnibus motion to reject executory
                                                                           Assumption & Rejection of contracts (1.1); correspondence with Messrs. Peirce, Lidvall, Blonk, and
8/28/2020 Von Eitzen, Elisabeth M      1.7       $773.50    $455.00 BK25   Leases/Contracts          Neitzel regarding same (0.2)
                                                                           Assumption & Rejection of Prepare notice and opportunity to reject lease (0.3) and proof of service
8/31/2020 Nikodemski, Janet M.         0.8       $152.00    $190.00 BK25   Leases/Contracts          (0.3); complete motion and order to reject lease (0.2)
                                                                                                     Correspondence with Mr. Lidvall regarding potential lease rejections (0.3);
                                                                                                     revise fourth omnibus motion to reject executory contracts and
                                                                                                     correspondence with Messrs. Lidvall and Neitzel regarding same (0.9);
                                                                           Assumption & Rejection of correspondence with Mr. Lidvall regarding equipment lease with 58 Ionia
8/31/2020 Von Eitzen, Elisabeth M      1.6        $728.00   $455.00 BK25   Leases/Contracts          Holding (0.4)
          TOTAL                       24.1     $10,115.00

MEETINGS & COMMUNICATIONS WITH CREDITORS
                                                                           Meetings &
                                                                           Communicatons with          Correspondence with Mr. Sweeny regarding MMSH, LLC and assignment of
8/19/2020 Von Eitzen, Elisabeth M      0.2        $91.00    $455.00 BK30   Creditors                   Waldron lease
                                                                           Meetings &                  Emails regarding Corrigan and review proposed stipulation (0.6);
                                                                           Communicatons with          conference with IRS regarding status (0.2); emails regarding Lexington
8/20/2020 Giunta, Rozanne M            1.4       $637.00    $455.00 BK30   Creditors                   location (0.4); email with Florida AG regarding filing (0.2)
                                                                           Meetings &
                                                                           Communicatons with          Emails regarding Corrigan (0.7); emails regarding Lexington (0.4); emails
8/21/2020 Giunta, Rozanne M            1.5        $682.50   $455.00 BK30   Creditors                   with Krone (0.4)
          TOTAL                        3.1      $1,410.50

REPORTING
8/11/2020 Giunta, Rozanne M            0.5       $227.50    $455.00 BK33   Reporting                   Review monthly operating report
                                                                                                       Emails and conferences regarding monthly operating report and arrange
8/12/2020 Giunta, Rozanne M            0.5       $227.50    $455.00 BK33   Reporting                   for filing
          TOTAL                          1        $455.00

          TOTAL FOR ALL PHASE CODES   54.6     $24,061.00
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EXPENSE SUMMARY
        DATE         DESCRIPTION     AMOUNT
 August, 2020    Motion Fee             $181.00
                 Federal Express
 August, 2020                                $12.10
                 Charges
  August, 2020   Postage                  $866.20
                 TOTAL                  $1,059.30
